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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 DIANA L. FERNANDEZ,

        Plaintiff,

                v.
                                                         Case No.: 1:19-CV-00297-RB-KK
 HARTFORD LIFE AND ACCIDENT
 INSURANCE COMPANY,

        Defendant.

                                           ORDER

       Upon consideration of the parties’ Stipulation to Extend Time to File an Indexed and

Numbered Copy of the Administrative Record, the Court finds good cause to allow the Stipulation

and extend the deadline for Defendant Hartford Life and Accident Insurance Complaint to file the

Indexed and Numbered Copy of the Administrative Record for one week, up to and including June

21, 2019.

       IT IS SO ORDERED that the Stipulation to Extend Time to File an Indexed and Numbered

Copy of the Administrative Record is granted and Defendant shall file under seal an Indexed and

Numbered Copy of the Administrative Record by June 21, 2019.

       This 14th day of June, 2019.



                                            __________________________________
                                            UNITED STATES MAGISTRATE JUDGE
